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                     11 COUNTY SHERIFF’S DEPARTMENT and
                        SAN DIEGO COUNTY PROBATION
                     12 DEPARTMENT
                     13                        UNITED STATES DISTRICT COURT
                     14                       SOUTHERN DISTRICT OF CALIFORNIA
                     15
                     16 DARRYL DUNSMORE, ANDREE                   Case No. 3:20-cv-00406-AJB-DDL
                        ANDRADE, ERNEST ARCHULETA,
                     17 JAMES CLARK, ANTHONY                      DEFENDANTS’ NOTICE OF
                        EDWARDS, LISA LANDERS,                    MOTION FOR PARTIAL
                     18 REANNA LEVY, JOSUE LOPEZ,                 SUMMARY JUDGMENT OR, IN
                        CHRISTOPHER NELSON,                       THE ALTERNATIVE, FOR AN
                     19 CHRISTOPHER NORWOOD, JESSE                ORDER TREATING SPECIFIED
                        OLIVARES, GUSTAVO                         FACTS AS ESTABLISHED
                     20 SEPULVEDA, MICHAEL TAYLOR,
                        and LAURA ZOERNER, on behalf of           [Fed. R. Civ. P. 56]
                     21 themselves and all others similarly
                        situated,                                 [Memorandum of Points and
                     22                                           Authorities; Appendix of Evidence; and
                                    Plaintiffs,                   [Proposed] Order filed concurrently
                     23                                           herewith]
                               v.
                     24
                        SAN DIEGO COUNTY SHERIFF’S                Hearing
                     25 DEPARTMENT, COUNTY OF SAN                 Date: March 6, 2025
                        DIEGO, SAN DIEGO COUNTY                   Time: 2:00 p.m.
                     26 PROBATION DEPARTMENT, and                 Ctrm: 4A
                        DOES 1 to 20, inclusive,
                     27
                                    Defendants.                   Judge: Anthony J. Battaglia
                     28
B URKE , W ILLIAMS &
   S ORENS EN , LLP
  ATTO RNEY S AT LAW
                          4897-4066-9443 v1
                                                                 1                 Case No. 3:20-cv-00406-AJB-DDL
      SA N DI E GO
                                                                                         NOTICE OF PARTIAL MSJ
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                       1            TO PLAINTIFFS AND TO THEIR ATTORNEYS OF RECORD:
                       2            PLEASE TAKE NOTICE that on March 6, 2025, at 2:00 p.m., or as soon as
                       3 this matter may be heard in the above-captioned Court, before the Honorable
                       4 Anthony J. Battaglia, United States District Judge, in Courtroom 4A, United States
                       5 District Court, located at 221 West Broadway, San Diego, CA 92101, Defendants
                       6 COUNTY OF SAN DIEGO, SAN DIEGO COUNTY SHERIFF’S DEPARTMENT
                       7 and SAN DIEGO COUNTY PROBATION DEPARTMENT (“Defendants”) motion
                       8 for partial summary judgment or, in the alternative, for an order treating specified
                       9 facts as established, under Federal Rule of Civil Procedure 56.
                     10             This motion is made on the grounds that the undisputed facts in this lawsuit
                     11 establish that with regard to the convicted and pre-trial incarcerated persons being
                     12 housed in its jail facilities, Defendants were not deliberately indifferent under the
                     13 Eighth Amendment and the Fourteenth Amendment with respect to the provision of
                     14 medical care (First Cause of Action) and dental care (Sixth Cause of Action) to
                     15 these individuals; that Defendants did not provide these incarcerated persons with
                     16 inadequate conditions of confinement including sanitation conditions (Fourth Cause
                     17 of Action), and deny them safety and security (Fifth Cause of Action); that
                     18 Defendants did not deny the incarcerated persons access to courts and counsel under
                     19 the Sixth Amendment and the Fourteenth Amendment (Eight Cause of Action); and
                     20 that Black and Latinx persons are not being disproportionately incarcerated in the
                     21 jail facilities in violation of California Government Code §11135(a) (Ninth Cause of
                     22 Action). 1
                     23 ///
                     24 ///
                     25
                     26
                         Defendants are not moving for relief as to the Second Claim regarding mental
                           1

                     27 health care. Further, the Seventh Cause of Action was dismissed per this Court’s
                     28 ruling on Defendants’ Motion to Dismiss. Also, Third Cause of Action is settled.
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   S ORENS EN , LLP
  ATTO RNEY S AT LAW
                           4897-4066-9443 v1
                                                                        2                Case No. 3:20-cv-00406-AJB-DDL
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                       1            This motion is based on this Notice of Motion, the Memorandum of Points
                       2 and Authorities, the Appendix of Evidence, together with exhibits and declarations
                       3 thereto, the pleadings and file in this action, and on such further oral or documentary
                       4 evidence as may be presented at or before the hearing on this matter, if any.
                       5            The parties met and conferred about the issues being raised in this motion for
                       6 partial summary judgment prior to filing the motion. (See, Coleman Decl.)
                       7
                       8 Dated: December 16, 2024                     BURKE, WILLIAMS & SORENSEN, LLP
                       9
                     10
                                                                      By:         /s/ Susan E. Coleman
                     11
                                                                            Susan E. Coleman
                     12                                                     Elizabeth M. Pappy
                                                                            Deann Rivard
                     13                                                     Martin Kosla
                     14                                                     Attorneys for Defendants
                                                                            COUNTY OF SAN DIEGO, SAN
                     15                                                     DIEGO COUNTY SHERIFF’S
                                                                            DEPARTMENT and SAN DIEGO
                     16                                                     COUNTY PROBATION
                                                                            DEPARTMENT
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B URKE , W ILLIAMS &
   S ORENS EN , LLP
  ATTO RNEY S AT LAW
                           4897-4066-9443 v1
                                                                        3                Case No. 3:20-cv-00406-AJB-DDL
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                       1                                   PROOF OF SERVICE
                       2               Dunsmore, et al v. San Diego County Sheriff’s Department, et al.
                                         USDC Southern District Case No. 3:20-cv-00406-AJB-DDL
                       3
                           STATE OF CALIFORNIA, COUNTY OF VENTURA
                       4
                               At the time of service, I was over 18 years of age and not a party to this
                      5 action.  I am employed in the County of Ventura, State of California. My business
                        address is 2310 East Ponderosa Drive, Suite 25, Camarillo, CA 93010-4747.
                      6
                               On December 16, 2024, I served true copies of the following document(s)
                      7 described   as DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL
                        SUMMARY JUDGMENT, OR IN THE ALTERNATIVE, FOR AN ORDER
                      8 TREATING SPECIFIED FACTS AS ESTABLISHED on the interested parties
                        in this action as follows:
                      9
                                                 SEE ATTACHED SERVICE LIST
                     10
                               BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
                     11 the document(s) to be sent from e-mail address dwetters@bwslaw.com to the
                        persons at the e-mail addresses listed in the Service List. I did not receive, within a
                     12 reasonable time after the transmission, any electronic message or other indication
                        that the transmission was unsuccessful.
                     13
                               I declare under penalty of perjury under the laws of the United States of
                     14 America that the foregoing is true and correct and that I am employed in the office
                        of a member of the bar of this Court at whose direction the service was made.
                     15
                               Executed on December 16, 2024, at Camarillo, California.
                     16
                     17
                                                                             /s/ Kathleen van Daalen Wetters
                     18                                                Kathleen van Daalen Wetters
                     19
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B URKE , W ILLIAMS &
   S ORENS EN , LLP
  ATTO RNEY S AT LAW
                           4897-4066-9443 v1
                                                                       4                Case No. 3:20-cv-00406-AJB-DDL
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                       1                                       SERVICE LIST
                       2                Dunsmore, et al v. San Diego County Sheriff’s Department, et al.
                                         USDC Southern District Case No. 3:20-cv-00406-AJB-DDL
                       3
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